FOR THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 

DALIA BERNAL
V. 5
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UNITED STATES OF AMERICA ) 1:14CR23-2
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MOTION TO REOPEN BERNAL'S 2255 PROCEEDING
UNDER FED. R. CIV. P. 60 (b)

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Comes now, petitioner, Dalia Bernal, pro-se, requesting that this Honorable
Court recommend to the government that it assent to the vacatur or reduction
of her sentence under the Holloway Doctrine. (United States v. Holloway

68 F. Supp. 3d 10 2014 2nd Circuit)

Bernal pled guilty to two counts under 924(c) which yielded a sentence of
32 years under the guidelines. Seven years for the first count and 25
years was mandatory for the second count. Several motions were submitted

to the court under Johnson and Dimaya that were ultimately denied.

Bernal now proceeds under this motion in light of Holloway for relief.
Holloway was charged with 2 counts of carjackings and 3 counts under 924(c)
which uphold mandatory consecutive sentenced and resulted in a sentence of
57 years after he proceeded to trial. Holloway sought relief through
executive clemency which was ultimately denied by President Barack Obama.

He then submitted a motion similar to Bernal's requesting that the court
recommend then attorney Loretta Lynch utilize her executive powers in
granting relief from judgement.

Bernal is simply asking the government to reduce her sentence for numerous
reasons. Under the First Step Act of 2018 it recommended that the sentencing
court consider the stacking provisions under 924(c) and the harsh penalties
associated under this statute.

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Bernal has been incarcerated since 201%. While imprisoned at the Aliceville
Correctional Institution Bernal has maintained clear conduct. She is
currently housed in the "Honor Dorm" and. diligently seeking post-conviction
relief through the courts.

CONCLUSION

At this time, Bernal requests that this Honorable Court consider this
request. She prays that.the government grants relief and consider a

sentence that achieves the goals set by Congress under the 3553(a)
‘factors.

Respectfully Submitted,

Dalia Bernal, Pro-Se

 

CERTIFICATE OF SERVICE

I declare under penalty of perjury that the above referenced motion was
sent through this prison's mailbox system.on the % day of June, 2019.

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Dalia Bernal, Pro-Se

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